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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA : CRIMINAL NO. 21-CR-057 (TNM)
v.
NICHOLAS RODEAN, VIOLATIONS:
: 18 U.S.C. §§ 1512(c)(2), 2
Defendant. : (Obstruction of an Official Proceeding)

18 U.S.C. § 1361
(Destruction of Government Property)
18 U.S.C. § 1752(a)(1)
(Entering and Remaining in a Restricted
Building or Grounds)
18 U.S.C. § 1752(a)(2)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)
18 U.S.C. § 1752(a)(4)
(Engaging in Physical Violence in a
Restricted Building or Grounds)
40 U.S.C. § 5104(e)(2)(D)
(Disorderly Conduct in
a Capitol Building)
40 U.S.C. § 5104(e)(2)(F)
(Act of Physical Violence in the Capitol
: Grounds or Buildings)
: 40U.S.C. § 5104(e)(2)(G)
:  (Parading, Demonstrating, or Picketing in
a Capitol Building)

INDICTMENT
The Grand Jury charges that:
COUNT ONE

On or about January 6, 2021, within the District of Columbia and elsewhere, NICHOLAS

RODEAN attempted to, and did, corruptly obstruct, influence, and impede an official proceeding,
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that is, a proceeding before Congress, by entering and remaining in the United States Capitol
without authority and engaging in disorderly and disruptive conduct and destroying federal
property.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT TWO
On or about January 6, 2021, within the District of Columbia, NICHOLAS RODEAN did
willfully injure and commit depredation against property of the United States, and of any
department and agency thereof, and any property which has been and is being manufactured and
constructed for the United States, and any department or agency thereof, that is a window, causing
damage in an amount more than $1000.

(Destruction of Government Property, in violation of Title 18, United States Code,
Section 1361)

COUNT THREE
On or about January 6, 2021, in the District of Columbia, NICHOLAS RODEAN did
unlawfully and knowingly enter and remain in a restricted building and grounds, that is, any posted,
cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where
the Vice President and Vice President-elect were temporarily visiting, without lawful authority to
do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT FOUR
On or about January 6, 2021, in the District of Columbia, NICHOLAS RODEAN did
knowingly, and with intent to impede and disrupt the orderly conduct of Government business and

official functions, engage in disorderly and disruptive conduct in and within such proximity to, a
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restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capito] and its grounds, where the Vice President and Vice President-
elect were temporarily visiting, when and so that such conduct did in fact impede and disrupt the
orderly conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT FIVE
On or about January 6, 2021, in the District of Columbia, NICHOLAS RODEAN did
knowingly, engage in any act of physical violence against any person and property in a restricted
building and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the
United States Capitol and its grounds, where the Vice President and Vice President-elect were
temporarily visiting.

(Engaging in Physical Violence in a Restricted Building or Grounds, in violation of
Title 18, United States Code, Section 1752(a)(4))

COUNT SIX
On or about January 6, 2021, in the District of Columbia, NICHOLAS RODEAN willfully
and knowingly engaged in disorderly and disruptive conduct in any of the Capitol Buildings with
the intent to impede, disrupt, and disturb the orderly conduct of a session of Congress and either
House of Congress, and the orderly conduct in that building of a hearing before or any deliberation
of, a committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))
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COUNT SEVEN
On or about January 6, 2021, in the District of Columbia, NICHOLAS RODEAN willfully
and knowingly engaged in an act of physical violence within the United States Capitol Grounds
and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))

COUNT EIGHT
On or about January 6, 2021, in the District of Columbia, NICHOLAS RODEAN willfully
and knowingly paraded, demonstrated, and picketed in any United States Capitol Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

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Attorney of the United States in
and for the District of Columbia.
